




NO. 07-07-0043-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MAY 11, 2007

______________________________



IN THE INTEREST OF J.L.W.M., A CHILD

_________________________________



FROM THE COUNTY COURT AT LAW #1 OF RANDALL COUNTY;



NO. 4234-L1; HONORABLE JAMES W. ANDERSON, JUDGE

_______________________________





Before CAMPBELL and HANCOCK and PIRTLE, JJ.

ABATEMENT AND REMAND

Following termination of his parental rights, appellant Johnny Lewis Monk filed a 
pro se
 “Motion to Appeal” the trial court’s judgment in which he indicates that he is indigent. &nbsp;Subsequently, appellant filed a Declaration of Inability to Pay Costs attesting that he is indigent. &nbsp;We abate the appeal and remand the cause.

In Texas, there is a statutory right to counsel for indigent persons who respond in opposition to a parental termination case filed by a governmental entity. &nbsp;
Tex. Fam. Code Ann
. § 107.031(a)(1) (Vernon Supp. 2006); 
see
 
also
 
In re M.S.
, 115 S.W.3d 534, 544 (Tex. 2003). &nbsp;Therefore, we abate the appeal and remand the cause to the trial court for further proceedings. &nbsp;Upon remand, the trial court is directed to determine if appellant is indigent and whether an attorney ad litem should be appointed to represent him on appeal.

Should the trial court determine that appellant is indigent and entitled to an attorney ad litem, the trial court is directed to appoint counsel and provide counsel’s name, address, telephone number, and state bar number to the clerk of this court immediately upon such appointment. &nbsp;Any orders issued shall be included in a supplemental clerk’s record to be filed with the Clerk of this Court on or before Monday, June11, 2007.

The trial court is directed to hold any hearings it deems necessary to comply with this order. &nbsp;Any such hearings shall be recorded and a supplemental reporter’s record containing these hearings shall be filed with the Clerk of this Court on or before June 11, 2007.

It is so ordered.



Per Curiam


